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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

                                    No. 6:24-cv'00306

                                   State of Texas, et al,
                                                   Plaintiffs,
                                             v.

                              United States Department of
                                 Homeland Security, et al.,
                                                 Defendants.



   PETITIONER S MOTION FOR DECLARATORY JUDGMENT THAT JOSEPH
 BODEN AND KAMALA HARRIS THROUGH THE DEPARTMENT OF HOMELAND
  SECURITY ARE GUILTY IF A CRIME AGANST HUMANITY AND GENOCIDE

       Based upon the accompanying Petition for Writ of Error Corum Nobis and Memorandum

of Law in Support, the Petitioner hereby moves a for Declaratory Judgment that Josheph Biden

and Kamala Harris acting through the Department of Homeland Security are guilty of a Crime

against Humanity and Genocide.

September 7, 2024


                                                        Respectfully submitted,




                                                        Robert A. He hmann



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                                 CERTIFICATION


      The Petitioner hereby certifies that a copy of this Petition was served upon

lead counsel for all parties by U.S. Mail, Postage-Prepaid on September 7, 2024.
